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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )          4:04CR3156
             Plaintiff,                     )
                                            )
      vs.                                   )          MEMORANDUM
                                            )          AND ORDER
JOE M. DELGADO, JR.,                        )
                                            )
             Defendant.                     )

       The Court has been advised that the defendant requests permission to enter a plea
of guilty. The Court is further advised that the defendant will consent to Judge Piester
conducting the hearing on the plea of guilty.

      IT IS ORDERED that:

      1.     This case, insofar as it concerns this defendant, is removed from the trial
docket based upon the request of the defendant.

      2.     A hearing on the defendant’s anticipated plea of guilty is scheduled before
Magistrate Judge Piester on the 5th day of October, 2005, at the hour of 1:30 p.m., in
Courtroom No. 2, United States Courthouse and Federal Building, 100 Centennial Mall,
North, Lincoln, Nebraska.

       3.     On or before the date set for the plea proceeding, counsel for plaintiff and
for defendant shall provide to the assigned probation officer their respective versions of
the offense for purposes of preparing the presentence investigation report.

       4.    For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. sec. 3161(h)(1)(I)&(h)(8)(A)(B).

      September 27, 2005.                       BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
